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Fill in this information to identify the case:

United States Bankruptcy Court for the:

Southern District of New York

Case number (if known)                                                           Chapter 7
                                                                                                                                    Check if this an
                                                                                                                                    amended filing



Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                                 12/15
Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

Part 1:     Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
1. Chapter of the Bankruptcy         Check one:
   Code

                                                  Chapter 7
                                                  Chapter 11
Part 2: Identify the Debtor
 2. Debtor's name     Newbury Operating LLC

3. Other names you
   know the debtor
   has used in the last
   8 years

     Include any
     assumed names,
     trade names, or
     doing business as
     names.

4. Debtor's federal Employer              Unknown
   Identification Number (EIN)
                                     EIN

 5. Debtor's address        Principal place of business                                             Mailing address, if different

                            250 East 87th Street
                            Number               Street                                                   Number           Street

                                                                                                          P.O. Box
                            New York NY 10128-3119
                            City                                    State       Zip Code                  City                          State          Zip Code

                                                                                                          Location of principal assets, if different from principal
                            New York                                                                      place of business
                            County
                                                                                                          Number       Street


                                                                                                          City                         State           Zip Code


6.    Debtor's website (URL)

7.    Type of debtor        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                            Partnership (excluding LLP)
                            Other type of debtor. Specify:
8. Type of debtor's       Check one:
   business
                            Health Care Business (as defined in 11 U.S.C. § 101(27A)
                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)

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Debtor      Newbury Operating LLC                                                                           Case number (if known)

                             Railroad (as defined in 11 U.S.C. § 101(44)
                             Stockbroker (as defined in 11 U.S.C. § 101(53A)
                             Commodity Broker (as defined in 11 U.S.C. § 101(6)
                             Clearing Bank (as defined in 11 U.S.C. § 781(3)
                             None of the types of business listed.
                             Unknown type of business.

9. To the best of             No
   your knowledge,
                              Yes. Debtor                                                                           Relationship
   are any
   bankruptcy cases
   pending by or                             District                            Date filed                         Case number, if known
   against any                                                                                 MM / DD / YYYY
   partner or affiliate
   of this debtor?

                                             Debtor                                                                 Relationship
                                             District                            Date filed                         Case number, if known
                                                                                               MM / DD / YYYY

Part 3: Report About the Case
10. Venue              Check one:


                               Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
                              in this district longer than in any other district.
                               A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


11.    Allegations         Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                           The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                           At least one box must be checked:

                               The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability or
                              amount.
                               Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
                              charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
                              appointed or took possession.

12. Has there been a          No
    transfer of any
    claim against the         Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
    debtor by or to
    any petitioner?

13. Each petitioner's claim Name of petitioner                                     Nature of petitioner's claim                               Amount of the claim
                                                                                                                                              above the value of any
                                                                                                                                              lien
                                  250 E. 87 Owners Corp.                           Commercial rent arrears                                      $655,883.65
                                                                                                                                                $
                                                                                                                                                $
                                                                                                             Total of petitioners' claims $655,883.65
                                  If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
                                  name and the case number, if known, at top of each sheet. Following the format of this form,
                                  set out the information required in Parts 3 and 4 of the form for each statement under penalty
                                  of perjury set out in Part 4 of the form, followed by each additional petitioner's (or
                                  representative's) signature, along with the signature of the petitioner's attorney.



 Part 4 Request for Relief
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.


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Debtor      Newbury Operating LLC                                                                            Case number (if known)

I have examined the information in this document and have a reasonable belief that the information is true and correct.
     Petitioners or Petitioners' Representative                                  Attorneys


Name and mailing address of petitioner
250 E. 87 Owners Corp.                                                                  Sanford P. Rosen
Name                                                                                    Printed name

c/o Charles H. Greenthal Mgmt Corp.
551 Fifth Avenue, Ste 500                                                               Rosen & Associates, P.C.
Number        Street                                                                    Firm name, if any
New York NY 10176-5000                                                                  747 Third Avenue
City                                       State            Zip Code                    Number      Street
                                                                                        New York NY 10017-2803
Name and mailing address of petitioner's representative, if any                         City                                          State        Zip Code
Peter Pretsfelder                                                                       Contact phone
Assistant Secretary                                                                                          (212) 223-1100           Email   srosen@rosenpc.com
Name
                                                                                        Bar number      1411834
c/o Charles H. Greenthal Mgmt Corp.
551 Fifth Avenue, Ste 500                                                               State           NY
Number        Street
New York NY 10176-5000
City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on
                     12/28/2020                                                         /s/ Sanford P. Rosen
                     MM / DD / YYYY                                                     Signature of attorney
                                                                                        Date signed      12/28/2020
/s/ Peter Pretsfelder, Assistant Secretary                                                               MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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